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 6
                             UNITED STATES DISTRICT COURT
 7                          WESTERN DISTRICT OF WASHINGTON
                                      AT SEATTLE
 8

 9   UNITED STATES OF AMERICA,                            NO. CR12-237-JCC

10                                 Plaintiff,

11          v.                                            DETENTION ORDER
12   THOMAS E. LEE,
13
                                   Defendant.
14

15   Offense charged:
16          Count 1:        Conspiracy to Distribute Oxycodone, in violation of 21 U.S.C. §§
17                          841(a)(1) and 841(b)(1)(C).

18   Date of Detention Hearing: August 31, 2012.
            The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and
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     based upon the factual findings and statement of reasons for detention hereafter set forth, finds:
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21          FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

22          1.      Pursuant to 18 U.S.C. § 3142(e), there is a rebuttable presumption that

23   defendant is a flight risk and a danger to the community based on the nature of the pending

24   charges. Application of the presumption is appropriate in this case.

25          2.      Defendant has stipulated to detention, but reserves the right to contest his

26   continued detention if there is a change in circumstances.


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            3.      There are no conditions or combination of conditions other than detention that
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     will reasonably assure the appearance of defendant as required or ensure the safety of the
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     community.
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            IT IS THEREFORE ORDERED:
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            (1)     Defendant shall be detained and shall be committed to the custody of the
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                    Attorney General for confinement in a correction facility separate, to the extent
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                    practicable, from persons awaiting or serving sentences or being held in custody
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                    pending appeal;
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            (2)     Defendant shall be afforded reasonable opportunity for private consultation with
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                    counsel;
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            (3)     On order of a court of the United States or on request of an attorney for the
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                    government, the person in charge of the corrections facility in which defendant
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                    is confined shall deliver the defendant to a United States Marshal for the
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                    purpose of an appearance in connection with a court proceeding; and
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            (4)     The Clerk shall direct copies of this Order to counsel for the United States, to
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                    counsel for the defendant, to the United States Marshal, and to the United States
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                    Pretrial Services Officer.
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            DATED this 31st day of August, 2012.
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20                                                AJAMES P. DONOHUE
21                                                 United States Magistrate Judge
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     DETENTION ORDER
     18 U.S.C. § 3142(i)
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